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Prob 12 (10/09)
VAE (rc1•. 5/ I 7)
                                UNITED STATES DISTRICT COURT
                                           for the
                                EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Hares Fakoor                                     Docket No. I: 18-CR-355

                                         Petition on Supervised Release

COMES NOW Barrv E. Ravmond, PROBATION OFFICER OF THE COURT, presenting an official report upon
the conduct and attitude of Hares Fakoor, who was placed on supervision by the Honorable Anthony J. Trenga.
Senior United Stales District Judge sitting in the Court at Alexandria, Virginia, on the 3rd day of May 2019, who
fixed the period of supervision al IO years, and imposed the general terms and conditions heretofore adopted by
the Court and also imposed special conditions and terms as follows:

                                             See Page 2


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE A S FOLLOWS:


                                               See Attachment(s)



PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.
                  July 26, 2022
Returnable Date: --------


  ORDER OF COURT                                           I declare under the penalty of perjury that the
                                                           foregoing is true and correct.
  Considered and ordered this C, <(1 day of��
  20--2.1=._ and ordered filed and made a part of the      Executed on: July 6, 2022
  records in the above case.
                                                                                    Digitally signed by Barry E.
                                                            Barry E. Raymond        Raymond
                                                                                    Date: 2022.07.06 12:10:45 -04'00'
                                                           Ban-y E. Raymond
                                                           Senior U.S. Probation Officer
                                                           703-366-2133


   Anthony J. Trenga
   Senior United States District Judge
                                                           Place: Manassas. Virginia




TO CLERK'S OFFICE
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